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 6
                                   UNITED STATES BANKRUPTCY COURT
 7
                                   NORTHERN DISTRICT OF CALIFORNIA
 8
     In Re:                               )                Case No. 17-10509 DM12
 9                                        )                Chapter 12
                                          )
10   PATRICK MERRITT VINATIERI,           )                APPLICATION FOR APPROVAL OF
     dba VINATIERI VINEYEARDS,            )                ATTORNEY’S FEES
11                                        )
                                          )                Date: N/A
12                                        )                Time: N/A
                                          )                Place: U.S. Bankruptcy Court
13   SSN: xxx-xx-5201,                    )                       99 South E Street
                               Debtor(s). )                       Santa Rosa, CA 95404
14   _____________________________________)

15            TO THE HONORABLE DENNIS MONTALI, UNITED STATES BANKRUPTCY JUDGE:

16            1. Applicant, Craig A. Burnett, attorney for Debtor, PATRICK VINATIERI, requests approval of

17   attorney’s fees in the sum of $12,000.00, pursuant to the attorney’s fees disclosure statement, and the

18   Debtor’s Fourth Amended Plan, which was confirmed by the Court on November 14, 2018. Of the sum

19   requested, the amount of $6,000.00 has been previously paid to Debtor’s attorney.

20            2. No agreement or understanding of any kind exists between the Applicant and any other person

21   regarding the sharing of any compensation received or to be received. No payments have been made or

22   promised to Applicant for services rendered in this case, except as indicated herein. Compensation expense

23   reimbursement is billed at rates no less favorable than those customarily charged by Applicant and generally

24   accepted by Applicant’s clients. Debtor is aware that this application for fees is being made.

25            3. This application is made on a flat fee basis. Applicant understands that all fees are subject to

26   Court approval, whether paid in advance or through the plan.

27   Date: 11/14/18                                        /s/ Craig A. Burnett
                                                           Creaig A. Burnett, Attorney for Debtor
28
     Case: 17-10509        Doc# 43     Filed: 11/14/18    Entered: 11/14/18 16:19:43        Page 1 of 1
                                                                        APPLICATION FOR ATTORNEY'S FEES, Pg 1
